         Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 1 of 32 Page ID #:1



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 9
                          UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA
11
                                       WESTERN DIVISION
12

13   MOVE, INC., a Delaware corporation;         Case No.
     MOVE SALES, INC., a Delaware
14   corporation; REALSELECT, INC., a            PLAINTIFFS’ COMPLAINT FOR:
     Delaware corporation,
15                                               (1) TRADE SECRET
                         Plaintiffs,             MISAPPROPRIATION UNDER
16                                               THE DEFEND TRADE SECRETS
           v.                                    ACT, 18 U.S.C. § 1836;
17
     COSTAR GROUP, INC., a Delaware              (2) TRADE SECRET
18   corporation; JAMES KAMINSKY, an             MISAPPROPRIATION UNDER
     individual; and DOES 1 through 10,          THE UNIFORM TRADE SECRETS
19   inclusive,                                  ACT, CAL. CIV. C. 3426 ET SEQ.;

20                       Defendants.             (3) VIOLATION OF THE
                                                 COMPUTER FRAUD AND ABUSE
21                                               ACT, 18 U.S.C. § 1030;

22                                               (4) VIOLATION OF THE
                                                 COMPREHENSIVE COMPUTER
23                                               DATA ACCESS AND FRAUD ACT,
                                                 CAL. P. C. § 502;
24
                                                 (5) BREACH OF CONTRACT;
25
                                                 (6) PROMISSORY FRAUD
26
                                                 JURY TRIAL DEMANDED
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                                           COMPLAINT
         Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 2 of 32 Page ID #:2



 1         Plaintiffs Move, Inc., Move Sales, Inc., and RealSelect, Inc. (collectively,
 2   “Move”), by and through their attorneys, complain and allege, on personal
 3   knowledge as to themselves and information and belief as to others, against
 4   Defendants CoStar Group, Inc. (“CoStar”) and James Kaminsky, as follows:
 5                                    INTRODUCTION
 6         1.     There is nothing wrong with lawful – even intense – competition. But
 7   competitors should never be allowed to cheat and steal to get ahead. Mr. Kaminsky,
 8   a former Move employee now working for Move’s direct competitor, CoStar,
 9   systematically invaded Move’s secure computer systems, secretly exfiltrated
10   Move’s trade secrets, and spied on Move’s real-time confidential electronic
11   documents to give CoStar a massive unfair competitive advantage and to help CoStar
12   increase traffic to its competing real estate listing website, all to the detriment of
13   Move.
14         2.     Plaintiff Move operates the residential real estate listings service
15   located at Realtor.com, an industry leader in quality real estate listings as well as
16   content delivering expertise and entertainment in the real estate world. Realtor.com
17   benefits home buyers and sellers along with real estate brokers and agents by
18   promoting residential real estate listings to consumers and delivering an audience to
19   brokers and agents for listings and leads. For decades, Move has invested heavily to
20   build Realtor.com into the nationally recognized brand and compelling user
21   experience it is today.
22         3.     Realtor.com has been well established for years as one of the most-
23   visited real estate listings websites in the United States. Based on reliable third-party
24   measurements of website traffic, Realtor.com is the second-most-visited real estate
25   listings website, behind Zillow and ahead of Redfin. Homes.com has not, until
26   recently, been a significant player in the industry.
27         4.     CoStar, which historically focused on commercial real estate listings,
28   acquired residential listings site Homes.com in 2021 and has since been on an

                                                1
                                           COMPLAINT
         Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 3 of 32 Page ID #:3




 1   aggressive mission to grow traffic to the fledgling site. CoStar has publicly
 2   announced it was spending $1 billion in marketing and advertising for Homes.com
 3   and seeks to surpass Realtor.com’s website traffic as quickly as possible. Having
 4   built up market and investor expectations to a fever pitch with its public
 5   pronouncements of supposed success, CoStar is desperate to boost traffic to
 6   Homes.com. CoStar is aggressively trying to increase traffic to Homes.com because
 7   online traffic and the number of site visitors are key to the success of any real estate
 8   listing website and the financial results of its business.
 9         5.       Realtor.com has succeeded in building up significant website traffic,
10   and it uses various marketing strategies to increase and maintain that traffic,
11   including traditional advertising on television and across the Internet. Realtor.com
12   also relies on a strong, established, and successful “News & Insights” platform as
13   part of its product offering and to attract real estate professionals, consumers, and
14   other visitors to Realtor.com. The platform is featured prominently on the
15   Realtor.com website. The News & Insights team publishes quality content, working
16   with groups across the Realtor.com business and with others in the media to report
17   and comment on real estate and related topics. The News & Insights platform is a
18   market leading offering, generally viewed as the best in the business, that drives
19   traffic to Realtor.com and creates significant authority for the brand. News &
20   Insights is key to building Move’s and Realtor.com’s brand awareness, goodwill,
21   and loyalty.
22         6.       CoStar apparently wants to create a rival News & Insights platform for
23   Homes.com, copying the success of the News & Insights team at Realtor.com.
24   CoStar recently hired the former head of Realtor.com’s News & Insights group,
25   Defendant James Kaminsky. For nearly a decade, Mr. Kaminsky led Realtor.com’s
26   News & Insights group, with knowledge of nearly every facet of the business,
27   including strategy, organizational structure, and operational details. He has referred
28   to the News & Insights group at Realtor.com as “an essential branding and

                                                2
                                            COMPLAINT
         Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 4 of 32 Page ID #:4




 1   monetization engine for Realtor.com.” Now at CoStar, Mr. Kaminsky is managing
 2   a team of writers, just as he did at Realtor.com. He holds himself out as a “Content
 3   Strategist,” “Senior Editorial Director,” “Team Leader,” and “Brand Builder.”
 4   According to his LinkedIn profile, Mr. Kaminsky’s new employer is “CoStar,” and
 5   his new title is “Editor, Homes.com.” Mr. Kaminsky now manages and supervises a
 6   team of ten other employees at CoStar working to build up a new digital product
 7   similar to Realtor.com’s News & Insights platform.
 8         7.     In June 2024, Move discovered that CoStar, through its employee, Mr.
 9   Kaminsky, has been brazenly and repeatedly misappropriating Move’s confidential
10   and trade secret information to give Homes.com a massive jump start in setting up
11   its new offering. As he departed Move, Mr. Kaminsky stole confidential business
12   information, sending it to his personal email account on the last day he had access
13   to Move’s computer system. He established surreptitious, undetected ongoing access
14   to allow himself (and, thus, CoStar) to spy on Move’s highly confidential documents
15   stored on protected computer systems. Then, attempting to cover his tracks, Mr.
16   Kaminsky deleted nearly a thousand files from his Move computer and wiped clean
17   his entire browsing history before returning the device to Move.
18         8.     Since he left Move, for several months including a significant period of
19   time in which he was with CoStar, until he was recently caught red-handed, Mr.
20   Kaminsky unlawfully exploited ongoing access to Move’s confidential and trade
21   secret information which was being updated by unsuspecting Move personnel in
22   real-time. The valuable information relates to business strategy, employee lists and
23   contact information, employee salary information, internal budgeting, industry
24   contact lists, third party collaborations, publication subjects, publishing schedules,
25   assignments, and a vast array of other competitively sensitive and valuable
26   information. Mr. Kaminsky spied on Move’s confidential documents at least 37
27   times after CoStar hired him.
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                                          COMPLAINT
         Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 5 of 32 Page ID #:5




 1         9.    In Mr. Kaminsky’s role as Editor for Homes.com, use of the
 2   misappropriated Move information is plainly within the scope of his CoStar
 3   employment and directly benefits and aids CoStar. As CoStar’s new manager of its
 4   competing initiative, Mr. Kaminsky is using Move’s trade secrets to leverage
 5   Move’s decade of experience, know-how, and competitive knowledge regarding its
 6   highly successful News & Insights platform to launch a competing product. The
 7   goal, obviously, is to help CoStar unlawfully jumpstart the creation of a
 8   “monetization engine” for CoStar by driving up website visitor numbers and
 9   increasing revenue and profits for CoStar.
10         10.   Mr. Kaminsky also committed promissory fraud and breached multiple
11   promises he made in his employment contracts with Move. He promised when
12   leaving Move, while accepting a generous severance package, that he had returned
13   all material belonging to Move. That promise was knowingly false and made to
14   induce Move’s reliance on Mr. Kaminsky’s false promises. When he made those
15   promises, Mr. Kaminsky was already actively accessing Move’s documents without
16   authorization and setting up a system that would give him future unauthorized access
17   to Move’s electronic files. Mr. Kaminsky also violated federal and state anti-
18   computer fraud laws by accessing without authorization Move electronic documents
19   stored on protected computer systems.
20         11.   CoStar and Mr. Kaminsky must be held accountable for their egregious
21   conduct. Move requests that this Court stop Defendants’ unlawful competitive
22   tactics and hold them liable for computer fraud and trade secret misappropriation,
23   enjoining Defendants from further unlawful use or disclosures of Move’s trade
24   secrets. Move further requests that the Court hold Mr. Kaminsky liable for his
25   breaches of contract and for his fraudulent promise to protect Move property as he
26   implemented a scheme to do the opposite. Move also respectfully requests that the
27   costs of this proceeding, including all attorneys’ fees and associated costs, be
28   awarded to Move pursuant to applicable statutes and contracts.

                                              4
                                         COMPLAINT
         Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 6 of 32 Page ID #:6




 1                                        PARTIES
 2         12.     Plaintiff Move, Inc. is a Delaware corporation with significant
 3   operations in California, including in Santa Clara, Santa Clara County, California
 4   and Westlake Village, Los Angeles County, California. Move operates the real estate
 5   listings service located at Realtor.com.
 6         13.     Plaintiff Move Sales, Inc., is a Delaware corporation and a wholly
 7   owned subsidiary of Move, Inc. Move Sales, Inc. employed Defendant James
 8   Kaminsky from June 2015 through January 2024.
 9         14.     Plaintiff RealSelect, Inc., is a Delaware corporation and a wholly
10   owned subsidiary of Move, Inc. RealSelect, Inc. is the entity that operates and does
11   business as Realtor.com.
12         15.     Defendant CoStar Group, Inc. is a Delaware corporation with offices
13   nationwide, including in Irvine, California, Los Angeles, California, San Diego,
14   California, and San Francisco, California. CoStar owns and operates the real estate
15   listings service located at Homes.com as well as other websites, including
16   Apartments.com,      ForRent.com,      CorporateHousing.com,      Land.com,     and
17   LandandFarm.com.
18         16.     Defendant James Kaminsky is an individual who resides in the state of
19   New York, but who previously worked for Move Sales, Inc., headquartered in
20   Westlake Village, California and who signed a written employment contract with
21   Move agreeing that California law would govern their agreement. Mr. Kaminsky
22   was formerly employed by Move Sales, Inc. from June 2015 to January 2024,
23   leading the News & Insights team for Realtor.com. He is now employed by CoStar.
24   According to Mr. Kaminsky’s LinkedIn profile, he began working for CoStar in
25   March 2024.
26         17.     Move is informed and believes, and on that basis alleges, that,
27   Defendants DOES 1 through 10, inclusive, are individually and/or jointly liable to
28   Move for the conduct alleged herein. The true names and capacities, whether

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                                          COMPLAINT
         Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 7 of 32 Page ID #:7




 1   individual, corporate, associate or otherwise, of Defendants DOES 1 through 10,
 2   inclusive, are unknown to Move at this time. Accordingly, Move sues Defendants
 3   DOES 1 through 10, inclusive, by fictitious names and will amend this Complaint
 4   to allege their true names and capacities once ascertained.
 5                               JURISDICTION AND VENUE
 6           18.   Pursuant to 28 U.S.C. § 1331, this Court has subject matter jurisdiction
 7   over this action based on the Defend Trade Secrets Act, 18 U.S.C. § 1836, et seq.,
 8   and the Computer Fraud and Abuse Act, 18 U.S.C. § 1030. This Court has
 9   supplemental jurisdiction over the other claims pled herein pursuant to 28 U.S.C. §
10   1367.
11           19.   This Court has personal jurisdiction over CoStar Group, Inc. because it
12   conducts a substantial amount of business in California. CoStar has physical offices
13   in Irvine, California, Los Angeles, California, San Diego, California, and San
14   Francisco, California. CoStar also conducts business in California and owns and
15   operates multiple websites that target California, including Homes.com,
16   Apartments.com,          ForRent.com,    CorporateHousing.com,     Land.com,      and
17   LandandFarm.com. A substantial part of CoStar’s misconduct occurred in
18   California, including its unlawful electronic access of multiple confidential Move
19   documents that were created by Move personnel in California and managed by those
20   Move personnel in California. CoStar’s unlawful conduct targeted California, since
21   CoStar was aware that Move’s headquarters are in California, that the Move
22   personnel who created and managed the documents at issue are in California, that
23   Move has significant relevant operations in California, and that harm to Move would
24   be felt in California.
25           20.   This Court has personal jurisdiction over James Kaminsky because a
26   substantial part of his misconduct occurred in California, including his unlawful
27   access of multiple confidential Move documents that were created by Move
28   personnel in California and managed by those Move personnel in California. Mr.

                                                6
                                             COMPLAINT
         Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 8 of 32 Page ID #:8




 1   Kaminsky’s unlawful conduct targeted California, since he was aware that Move’s
 2   headquarters are in Santa Clara, California and that Move has significant operations
 3   in Westlake Village, California, that the Move personnel who created and managed
 4   the documents at issue are in California, and that harm to Move would be felt in
 5   California. Mr. Kaminsky was also aware that any dispute with Move would likely
 6   be litigated in California when he agreed that California law would govern his
 7   written agreement with Move.
 8         21.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), because,
 9   as described above, a substantial part of the events or omissions giving rights to the
10   claims pled herein against it occurred in the Western Division of this District.
11                              FACTUAL ALLEGATIONS
12         22.    In the real estate listing website industry, website traffic is critical.
13   Homes.com and Realtor.com make money by, among other things, providing real
14   estate agents prime placements for their online listings. Because consumers want to
15   use, and real estate professionals want to advertise on, the most popular platform,
16   size matters. In other words, website traffic is the lifeblood of this business.
17         23.    There is an entire industry devoted to providing independent
18   comparative measurements of web traffic. According to every independent third-
19   party source Move can identify—such as Comscore, Nielsen, Similar Web, or SEM
20   Rush—Realtor.com has for years been the second most-visited residential real estate
21   listings website in the United States, behind Zillow and ahead of Redfin. By every
22   independent third-party measure, Homes.com is last among the top four.
23         24.    Desperate to increase its presence as a leading real estate listings site,
24   CoStar has done everything it can to try and boost its website traffic. Through its
25   employee Mr. Kaminsky, CoStar misappropriated Move’s trade secrets to free ride
26   on and replicate Realtor.com’s effective News & Insights strategy, structure, and
27   operations, seeking to give itself a significant boost in launching a competing digital
28   product and building an engine to drive additional traffic to Homes.com.

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                                           COMPLAINT
          Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 9 of 32 Page ID #:9




 1                     Move’s Highly Successful Realtor.com Business
 2          25.    Realtor.com’s number two spot among the online real estate portals has
 3   been hard won. It is the result of several interwoven strategies, implemented over
 4   more than a decade. Realtor.com is considered the gold standard for real estate
 5   listings based on its use of Multiple Listing Service (MLS) listings sourced from
 6   hundreds of regional databases, and its affiliation with the National Association of
 7   Realtors (NAR). Move has the exclusive license from the NAR (which owns the
 8   “Realtor” mark) to use the Realtor.com URL for its business. In addition to real
 9   estate listings, Realtor.com provides other insightful information, tools, and
10   professional expertise to those who visit the site. Homebuyers and sellers can track
11   a property’s value, view neighborhood market trends, read articles about real estate
12   market and specific properties, learn about economics and market data, catch up on
13   trends, peruse celebrity real estate stories, and see other interesting aspects of the
14   website. Much of this content is created and published by the News & Insights team
15   at Realtor.com.
16          26.    Realtor.com’s News & Insights platform is one of several methods to
17   differentiate Realtor.com from its competitors, drive user traffic to Realtor.com, and
18   to maintain that traffic over time. It is a successful strategy, and in addition to driving
19   traffic it also creates enormous authority for the Realtor.com brand. News & Insights
20   provides a competitive advantage to Realtor.com because Move has invested heavily
21   in news and insights type coverage compared with peer websites. As a result of its
22   success, News & Insights enjoys a prominent location, at the top center spot on the
23   homepage at Realtor.com.
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                                            COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 10 of 32 Page ID #:10




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10         27.    The News & Insights tagline is “Your Home For All Things Real
11   Estate.” Like a virtual newspaper on the Realtor.com website, News & Insights
12   includes several different sections representing market segments, with stories
13   relevant to each: Buying, Selling, Renting, Finance, Home Improvement, Celebrity
14   Homes, News & Trends, and Living. News & Insights publishes daily journalistic
15   stories alongside videos to provide best-in-class real estate content and drive
16   consumer traffic to Realtor.com.
17         28.    News & Insights is highly integrated with the wider Realtor.com site,
18   and it operates in several ways to promote the overall goal of attracting site visitors.
19   Its creative content informs and entertains a wide audience. That content also builds
20   and promotes the Realtor.com brand. News & Insights’ integration with the wider
21   Realtor.com site helps the site promote specific listings, brokers, and agents.
22         29.    The News & Insights team at Move works actively with the company’s
23   Economics team to identify, curate, and develop content for the website and for
24   external content placement. The content frequently focuses on economic trends,
25   views on market dynamics, and the future of the housing market. The Economics
26   team produces a weekly video for Realtor.com that is accessible through the News
27   & Insights section of Realtor.com.
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                                           COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 11 of 32 Page ID #:11




 1         30.    Working hand in hand with the News & Insights platform and
 2   Economics team is Move’s public relations program. This program is based on years
 3   of business know-how and understanding of what third-party sites are interested in
 4   and how Move can best raise Realtor.com’s profile through external media. Move’s
 5   public relations professionals use the company’s network of connections, years of
 6   proven experience, business relationships, and particular methods to advance the
 7   company’s strategy. Their efforts raise Realtor.com’s profile and encourage more
 8   visits to the website.
 9         31.    Like many other online companies, Move carefully monitors trends and
10   traffic patterns on its website. Understanding which content subjects and specific
11   articles are popular (or not) over time helps the Move team learn more about
12   Realtor.com’s customers and audience, helping Move improve decisions regarding
13   content, increasing the value of the content and bringing in even more site visitors
14   to Realtor.com. As Mr. Kaminsky has explained, the “News & Insights section [was
15   built] into an industry-leading housing advice, news, and entertainment site for mass
16   consumers – and an essential branding and monetization engine for Realtor.com.” It
17   is this “monetization engine” – developed over many years – that CoStar seeks to
18   replicate and misappropriate without the investment or years of effort it would
19   otherwise take to develop legitimately.
20           CoStar Aggressively Pushes into the Residential Portal Market
21         32.    CoStar has for some time dominated the market for online commercial
22   real estate listings. It owns LoopNet, a successful online marketplace for commercial
23   real property. In April 2021, CoStar made its foray into the residential real estate
24   listings market by purchasing Homes.com. At that time, Homes.com was a small
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                                          COMPLAINT
         Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 12 of 32 Page ID #:12




 1   residential real estate listing platform receiving only about 5,000,000 unique
 2   monthly visitors.1
 3          33.   In 2023, CoStar embarked on a substantial investment to advance its
 4   fledgling Homes.com business, declaring it would invest heavily into its Homes.com
 5   site and work relentlessly to grow it to overtake Realtor.com. Leadership at CoStar
 6   has stated repeatedly that Homes.com would focus on marketing and grow visitors
 7   to Homes.com. CoStar’s Form 10-K filing dated February 2024 further detailed the
 8   company’s “Homes.com monetization strategy.” That filing also stated CoStar’s
 9   goal of “grow[ing] the numbers of users of, and subscribers to and advertisers on,
10   our marketplaces” including Homes.com. As CoStar stated, that goal necessarily
11   involves “enhanc[ing] user and advertiser awareness of [CoStar’s] brands.”
12          34.   CoStar recently began what it has called the largest real estate platform
13   marketing campaign in history, for the purpose of driving traffic to Homes.com and
14   more effectively competing with Zillow, Realtor.com, and Redfin. As part of its
15   aggressive campaign, CoStar publicly declared it would spend $1 billion in
16   advertising for Homes.com, with, for example, multiple television advertisements
17   appearing in the 2024 Super Bowl telecast.
18          35.   CoStar has not had an internal news platform at Homes.com nor a
19   strong public relations program for the website. In Spring 2024, however, CoStar
20   hired Mr. Kaminsky after his departure from leading the News & Insights team at
21   Realtor.com. CoStar also began advertising for a new role: Director of PR &
22   Communications for Homes.com. According to CoStar’s recruiting advertisement,
23   it seeks to hire a Director to “develop and implement a comprehensive
24   communications strategy that will grow awareness, engagement, media impressions,
25   and share of voice for the Homes.com brand, and to promote the brand to key media
26

27   See “CoStar Group to Acquire Residential Listing Site Homes.com,” April 14,
     1
   2021, https://www.costargroup.com/costar-news/details/costar-group-to-acquire-
28 residential-listing-site-homes.com (stating, as of April 2021, that “[a]pproximately
   5 million people visit the Homes.com website each month”).
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                                          COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 13 of 32 Page ID #:13




 1   outlets as the leader in the residential industry, rental market industry and consumer
 2   insights space.”
 3         36.    Mr. Kaminsky’s title at Homes.com is “Editor.” The role involves
 4   developing and executing real estate news coverage for Homes.com and managing
 5   and supervising others to produce “unique reported content,” according to Mr.
 6   Kaminsky’s public LinkedIn resume. He is a “Brand Builder” and “Content
 7   Strategist” for Homes.com, managing and supervising a team to create a new digital
 8   product for CoStar.
 9         37.    Mr. Kaminsky’s exfiltration of company information including
10   compensation details for key members of the Realtor.com News & Insights team,
11   and his access to confidential, internal Move documents relevant to the setup of those
12   teams, further provides CoStar a significant – and unfair – competitive benefit. As
13   Move’s competitor, CoStar is currently able to enjoy Move’s decade of experience,
14   know-how, and competitive trade secrets which were developed at great expense,
15   with much trial-and-error, to launch a competing product in record time for a fraction
16   of the cost. CoStar has unauthorized access to nearly every aspect of Realtor.com’s
17   News & Insight team. This means CoStar unfairly benefits from a massive boost in
18   launching that product, its own version of Realtor.com’s News & Insights,
19   economics, and public relations program. This boost has not yet been quantified in
20   terms of commercial benefit but encompasses years’ worth of proprietary business
21   methods and trade secret information integral to designing, constructing, and
22   operating Move’s successful Realtor.com strategy.
23         38.    The hiring of Mr. Kaminsky to oversee and manage a new group at
24   CoStar, and advertising for a new public relations professional to work in the same
25   manner Mr. Kaminsky worked with public relations professionals at Realtor.com to
26   advance Realtor.com’s News & Insights strategy, demonstrates how Homes.com is
27   trying to replicate Move’s strategy. Mr. Kaminsky’s retention of and continuing
28   (unauthorized) access to Move’s confidential and trade secret information about

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                                          COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 14 of 32 Page ID #:14




 1   Move’s playbook for integrating News & Insights and public relations strategies
 2   provides CoStar with an illicit and unearned benefit in setting up and launching a
 3   successful platform while avoiding the substantial time, effort, and investment that
 4   would otherwise be required. CoStar is not competing fairly; it is using Move’s trade
 5   secrets to design and construct a copy of a highly successful component of Move’s
 6   business.
 7        Misappropriated Documents Contain Move’s Valuable Trade Secrets
 8         39.    As alleged above, Realtor.com’s News & Insights platform is a
 9   significant driver of traffic to Realtor.com, a source of authority and value for its
10   brand, and a “monetization engine” for Move. And, like any press outlet, News &
11   Insights derives value and success from its ability to identify, develop, and generate
12   compelling content to attract, build, and maintain an audience. Move does this using
13   years of experience and deep knowledge of its business and audience to identify,
14   curate, and develop stories that will most effectively drive traffic to Realtor.com,
15   promote the Realtor.com brand, and bring value to its professional real estate
16   customers. Similarly, Move’s public relations program (managed by Move’s
17   Communications team) is successful in large part because of its contacts,
18   relationships, and knowledge in the media world. These teams work together. They
19   maintain confidential documents containing valuable information about the team’s
20   in-progress stories, ideas for future stories, and the way those planned and proposed
21   stories tie into wider Realtor.com efforts, going to the heart of the team’s journalistic
22   function. The documents also identify communication strategies, ongoing
23   communications with third parties regarding stories and collaboration efforts, and
24   valuable lists of third-party sources, including contact information and affiliation
25   information. These and other electronic documents are stored by Move personnel on
26   protected computer systems.
27         40.    One such document is referred to as the “Comms + Econ + N&I Project
28   Call” document. This several-hundred-page document is a treasure trove of

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                                           COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 15 of 32 Page ID #:15




 1   competitive valuable information, reflecting the strategy, shared information, and
 2   decision making that takes place in regular meetings between the Communications,
 3   Economics, and News & Insights teams. The Comms + Econ + N&I Project Call
 4   document is a “living,” electronically-stored document, owned and managed by
 5   Move’s Westlake Village, California team. Users with authorization to access it can
 6   log on and see edits and updates that other users have made to the document. As
 7   further detailed below, the document contains valuable information pertaining to the
 8   stories Realtor.com will run, strategic pivoting the teams are making, metrics about
 9   which stories are performing best (and which subjects / stories are not performing),
10   and how Realtor.com is using those metrics to inform its plans for News & Insights.
11   The Comms + Econ + N&I Project Call document also contains lists of the reporter
12   contacts the company has garnered over the years, those reporters’ beats and
13   interests, ongoing projects, and other key information integral to the success of
14   Move’s strategy.
15         41.    Move also uses the Comms + Econ + N&I Project Call document as a
16   detailed business plan for the entire News & Insights, Communications, and
17   Economics strategy of Realtor.com, rich with information about how those teams
18   operate, how they work together, and how they contribute to the platform’s wider
19   success.
20         42.    Another document containing Move’s trade secret information is
21   referred to as the “Editorial Budget.” This document is updated daily by Move
22   personnel and provides hour-by-hour information about the content that will appear
23   on Realtor.com. It reflects the experience and business methods used to develop
24   stories that will most effectively attract an audience and drive traffic to Realtor.com.
25   The document is a real-time road map for Move’s strategic timing and planning of
26   its news content. Like the Comms + Econ + N&I Project Call document, the Editorial
27   Budget is a “living,” electronic document that authorized users can log into and
28   access using their Move credentials.

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                                            COMPLAINT
         Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 16 of 32 Page ID #:16




 1          43.   Move also maintains internal documents that lay out its planned future
 2   strategies for its News & Insights platform that are not publicly known.
 3          44.   As News & Insights serves as a journalistic arm within Move, these
 4   documents are at the heart of its business and competency.
 5          45.   The documents described in the preceding paragraphs are examples of
 6   documents containing Move’s confidential and proprietary information. Move
 7   maintains many additional documents with such information, critical to managing
 8   the collaborative efforts of its News & Insights, public relations / Communications,
 9   and Economics teams.
10          46.   These documents and other materials, as a whole, constitute a detailed
11   blueprint of confidential and proprietary documents that form the basis for running
12   the News & Insights platform as integrated with other aspects of the company. There
13   are dozens to hundreds of individual confidential documents and pieces of valuable
14   information that, together, are essential ingredients making up the recipe that is the
15   News & Insights team and platform.
16          47.    The trade secrets in these documents fall into several categories,
17   including but not limited to the following: 2
18                a. Real-time updated information about the topics and content of
19                   stories that will appear on Realtor.com, before they are published;
20                b. Concepts and ideas for future stories on the News & Insights
21                   platform;
22                c. Internal metrics of the success of Realtor.com’s News & Insights
23                   stories and strategy showing how those metrics will influence the
24                   future direction and content of the site;
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27   To safeguard its confidential and proprietary information, Move is intentionally
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   withholding details of its strategy, internal plans, and trade secrets from this
28 pleading. Move will furnish such information as needed with appropriate
   confidentiality protections in place as this litigation progresses.
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                                           COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 17 of 32 Page ID #:17




 1                d. Business strategy for Realtor.com working with other news and
 2                   media organizations into the future;
 3                e. Lists of public relations contacts, with detailed contact information,
 4                   along with those contacts’ interests and topics reported on;
 5                f. Lists of employees, their roles and responsibilities within the
 6                   organization, and employee compensation information;
 7                g. Business models and know-how for managing the structure and
 8                   operations of, and successfully running, the News & Insights and
 9                   Communications teams; and
10                h. Plans for deriving further value from the News & Insights platform,
11                   not publicly known.
12         48.    Move’s trade secrets derive independent economic value from not
13   being generally known to, and not being readily ascertainable through proper means
14   by, Move’s competitors (like CoStar) or other persons who can obtain economic
15   value from the disclosure or use of the information. Just as a newspaper would gain
16   an advantage from being able to scoop a rival publication’s stories and see the
17   internal processes that drive its success, here, another real estate listings site would
18   gain immense value from reading the key documents at the center of Realtor.com’s
19   successful News & Insights team. And confidential information about the operations
20   of Move’s team, including its composition, meeting schedules, internal processes,
21   areas of responsibility, reporting structures, and work-streams are incredibly
22   valuable to a rival that is constructing a competing operation with the hopes of
23   replicating Realtor.com’s News & Insights “monetization engine.”
24         49.    Move has taken numerous steps to ensure the confidentiality of its
25   confidential information, including the misappropriated documents at the center of
26   this case. These efforts include requiring employees to sign confidentiality
27   agreements in connection with their employment, requiring employees to
28   acknowledge employment policies containing confidentiality provisions, requiring

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                                           COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 18 of 32 Page ID #:18




 1   departing employees to confirm confidentiality protections, requiring vendors to
 2   sign confidentiality agreements, implementing physical security on office locations,
 3   including physical barriers, keycard access, and locks on doors, password
 4   requirements for local and computer network access, multifactor authentication for
 5   access to the Move network, use of security software and firewalls, encryption of
 6   employee laptops, and training for employees that includes security and
 7   confidentiality components.
 8    Mr. Kaminsky’s Access to and Promises to Protect Confidential Information
 9         50.    Mr. Kaminsky began employment with Move Sales, Inc. in June 2015,
10   and for nearly a decade he ran Move’s News & Insights department. By the end of
11   his employment, his title was Senior Editorial Director, and he led the News &
12   Insights team. In this role, Mr. Kaminsky regularly accessed the News & Insights
13   and Communications teams’ key documents, including the Comms + Econ + N&I
14   Project Call document, the Editorial Budget, and others.
15         51.    When Mr. Kaminsky started his employment with Move, he signed a
16   contract titled “Employee Invention Assignment and Confidentiality Agreement”
17   (the “Confidentiality Agreement”). In the Confidentiality Agreement, Mr. Kaminsky
18   acknowledged that while working for Move he would have access to the company’s
19   trade secrets and confidential information. He agreed to hold such information in
20   “strict confidence and trust,” and not to “use or disclose it” “without the prior written
21   consent” of Move. Mr. Kaminsky also agreed that, upon termination of his
22   employment with Move, he would “not take with [him] any documents or materials
23   or copies thereof” containing Move’s confidential or trade secret information. Also
24   in the Confidentiality Agreement, Mr. Kaminsky agreed he would notify Move in
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                                           COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 19 of 32 Page ID #:19




 1   writing of any employment he accepted for one year following the end of his
 2   employment with Move.
 3       Mr. Kaminsky Departs Move and Exfiltrates Trade Secrets to CoStar
 4         52.    On or about January 10, 2024, Move notified Mr. Kaminsky that his
 5   position at the company would end as part of a reduction in force. Mr. Kaminsky
 6   was notified that his last working day would be January 12, 2024, and his
 7   employment would officially terminate on January 19, 2024.
 8         53.    Also on January 10, 2024, Move provided Mr. Kaminsky with a written
 9   offer titled “Terms of Separation,” which, if accepted and countersigned by Mr.
10   Kaminsky, would constitute his separation agreement with Move (the “Separation
11   Agreement”). The Separation Agreement provides that Mr. Kaminsky receive a
12   substantial severance payment, along with other benefits.
13         54.    Mr. Kaminsky signed and returned the Separation Agreement to Move
14   on January 25, 2024. In doing so, he “represent[ed] and warrant[ed]” in writing that
15   he had returned to Move, or would return to Move as soon as reasonably practicable,
16   “all tangible or intangible property or data” belonging to Move, “of any type
17   whatsoever[.]” Mr. Kaminsky promised further that he would “continue to be bound
18   by the terms of the Confidentiality Agreement” and that he would hold all
19   confidential and trade secret information “in the strictest confidence,” and would not
20   make use of such information “on behalf of anyone.” He confirmed he had
21   “delivered to [Move] all documents and data of any nature” containing or pertaining
22   to confidential or trade secret information, and that he had “not retained any such
23   documents or data or any reproduction thereof.”
24         55.    In or before March 2024, Mr. Kaminsky began working for Move’s
25   competitor CoStar as Editor for Homes.com. According to Mr. Kaminsky’s public
26   LinkedIn resume, he is employed by “CoStar Group” and was hired to “oversee[]
27   the development and execution of a dynamic new category of luxury housing
28   coverage” for Homes.com. His role includes “[m]anaging and editing a team of 10

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                                          COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 20 of 32 Page ID #:20




 1   full-time architecture and style writers to create unique reported content[.]” Mr.
 2   Kaminsky did not notify Move he had accepted employment with CoStar, as he had
 3   promised Move he would. On information and belief, Mr. Kaminsky withheld this
 4   information from Move to avoid detection of the misconduct outlined in this
 5   Complaint.
 6         56.    After Mr. Kaminsky started working for CoStar, Move discovered that
 7   Mr. Kaminsky had exfiltrated confidential material in his last days working for
 8   Move, creating for himself ongoing surreptitious access to Move’s live internal
 9   documents. In the days after Mr. Kaminsky was notified that his employment with
10   Move would terminate, he used his Move email address to send his personal Gmail
11   email account dozens of emails containing Move information. Among other items,
12   on January 12, 2024, Mr. Kaminsky emailed himself employment summaries of
13   several of the individuals on the Realtor.com News & Insights team, including their
14   job titles, descriptions, and salary and other compensation information.
15         57.    Move also discovered that, after Mr. Kaminsky’s last day of
16   employment with Move, but before he returned to Move a company-issued laptop
17   that had been in his possession, Mr. Kaminsky deleted a massive volume of files and
18   data from that company-issued laptop. On February 19, 2024, Mr. Kaminsky deleted
19   nearly a thousand electronic files from the Move laptop and deleted his entire
20   browsing history before shipping it back to Move.
21         58.    In addition, on January 11 and 12, 2024, Mr. Kaminsky used his Move
22   email address to grant access to his personal Gmail address for several of Move’s
23   internal documents stored on protected computer systems, including the Comms +
24   Econ + N&I Project Call document, the Editorial Budget document, confidential
25   documents containing Move’s plans and strategies for deriving further value from
26   the News & Insights platform, and more. Ongoing access to these documents would
27   allow Mr. Kaminsky to continue to access, copy, and spy on Move’s internal
28   documents from outside the company after he departed Move. He could print them

                                              19
                                          COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 21 of 32 Page ID #:21




 1   or download them, take screen shots, and generally enjoy surreptitious access to
 2   highly sensitive information he knew would be updated daily or weekly by the team
 3   at Realtor.com.
 4         59.    Mr. Kaminsky did in fact access those Move documents numerous
 5   times in the following months, including after he began working for CoStar, going
 6   undetected until June 2024. The documents’ internal logs indicate that Mr.
 7   Kaminsky accessed Move’s documents at least 37 times after he began working for
 8   CoStar in March 2024. This access included viewing and spying on Move’s
 9   regularly updated Comms + Econ + N&I Project Call and Editorial Budget
10   documents, which provided real-time updates on the News & Insights and
11   Communications teams’ planning, strategy, and other confidential information. At
12   the time Mr. Kaminsky’s unauthorized access was discovered and cut off, the
13   documents provided updates and planning stretching months into the future, through
14   August 2024.
15                             FIRST CLAIM FOR RELIEF
16      (Trade Secret Misappropriation Under the Defend Trade Secrets Act, 18
17                                  U.S.C. § 1836, et seq.)
18                         (All Plaintiffs against all Defendants)
19         60.    Move repeats and realleges each and every allegation contained in
20   Paragraphs 1 through 59 as if fully set forth herein.
21         61.    Move owns and possesses certain confidential and proprietary
22   information properly defined as a “trade secret” pursuant to 18 U.S.C. § 1839(3).
23   Specifically, as described above, Move is the owner of trade secrets including real-
24   time updated information about the topics and content of stories that will appear on
25   Realtor.com, before they are published; concepts and ideas for possible future stories
26   on the News & Insights platform; collaborative projects with third parties and other
27   news organizations; information regarding Realtor.com operations, structure, and
28   business strategy; internal metrics of the success of Realtor.com’s News & Insights

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                                          COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 22 of 32 Page ID #:22




 1   stories and strategy showing how those metrics will influence the future direction
 2   and content of the site; lists of public relations contacts along with those contacts’
 3   interests and reporting subjects; business models and know-how for successfully
 4   running the News & Insights and Communications teams; employee contact,
 5   compensation, and responsibility information; internal structure and operations
 6   plans; and plans for deriving further value from the News & Insights platform, not
 7   publicly known.
 8         62.      Move’s trade secrets derive independent economic value from being
 9   not generally known to, and not being readily ascertainable through proper means
10   by, other persons who can obtain economic value from the disclosure or use of the
11   information.
12         63.      Move has made strong efforts to preserve the confidentiality of its
13   confidential and proprietary information through the measures set forth above,
14   including but not limited to requiring employees to sign confidentiality agreements
15   in connection with their employment, requiring employees to acknowledge
16   employment policies containing confidentiality provisions, requiring departing
17   employees to confirm confidentiality protections, requiring vendors to sign
18   confidentiality agreements, implementing physical security on office locations,
19   including physical barriers, keycard access, and locks on doors, password
20   requirements for local and computer network access, multifactor authentication for
21   access to the Move network, use of security software and firewalls, encryption of
22   employee laptops, and training for employees that includes security and
23   confidentiality aspects.
24         64.      As described above, CoStar and Mr. Kaminsky, without permission,
25   accessed and misappropriated certain of Move’s trade secrets through the exfiltration
26   of confidential and proprietary documents and surreptitious continuing access to
27   Move’s real-time electronic documents after the end of Mr. Kaminsky’s
28   employment with Move, while Mr. Kaminsky was employed by CoStar. Moreover,

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                                          COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 23 of 32 Page ID #:23




 1   Mr. Kaminsky’s work for CoStar in building up a competing News & Insights-type
 2   digital product is the direct scope of his employment. CoStar and Mr. Kaminsky
 3   have unlawfully accessed, used, and disclosed Move trade secrets.
 4         65.      At all relevant times, Defendants knew or had reason to know that their
 5   knowledge of, access to, use of, and disclosure of Move’s trade secrets was without
 6   permission.
 7         66.      On information and belief, if Defendants are not enjoined, they will
 8   continue to use, disclose, or otherwise misappropriate Move’s confidential and trade
 9   secret information for their own benefit and to Move’s detriment.
10         67.      Defendants’ misappropriation of Move’s confidential and trade secret
11   information has caused and threatens to cause substantial injury to Move, including,
12   but not limited to actual damages, lost profits, harm to Move’s reputation, and the
13   diminution of the value of its trade secrets. In addition, Defendants will be unjustly
14   enriched by their misappropriation of Move’s confidential and trade secret
15   information.
16         68.      Move therefore seeks injunctive relief pursuant to 18 U.S.C. §
17   1836(b)(3)(A) to protect the secrecy of its confidential and trade secret documents
18   and information and to remedy injury to Move’s business interests. Move will suffer
19   irreparable harm absent the requested injunctive relief.
20         69.      Move also seeks an award of actual damages in an amount to be proven
21   at trial under 18 U.S.C. § 1836(b)(3)(B).
22         70.      Further, as Defendants have misappropriated Move’s confidential
23   information and trade secrets for an improper purpose and in a willful and malicious
24   manner, Move seeks exemplary damages for the maximum amount allowed under
25   18 U.S.C. § 1836(b)(3)(C) and attorneys’ fees under 18 U.S.C. § 1836(b)(3)(D).
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                                           COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 24 of 32 Page ID #:24




 1                            SECOND CLAIM FOR RELIEF
 2    (Trade Secret Misappropriation Under California’s Uniform Trade Secrets
 3                           Act, Cal. Civ. Code § 3426, et seq.)
 4                          (All Plaintiffs against all Defendants)
 5         71.    Move repeats and realleges each and every allegation contained in
 6   Paragraphs 1 through 70 as if fully set forth herein.
 7         72.    For the same reasons set forth above in relation to the First Claim for
 8   Relief, Paragraphs 60 through 70, Move’s trade secrets are protectable under
 9   California state law pursuant to California Civil Code Section 3426.1(d), reasonable
10   efforts to protect Move’s trade secrets were utilized by Move, and Defendants have
11   threatened misappropriation of the trade secrets.
12         73.    Defendants’ misappropriation of Move’s trade secrets has directly and
13   proximately caused damage to Move including, but not limited to actual damages
14   and the diminution of the value of its trade secrets. Defendants will be unjustly
15   enriched by their misappropriation of Move’s confidential information and trade
16   secrets.
17         74.    Defendants’ misappropriation of Move’s trade secrets has been
18   conducted in a willful and malicious manner.
19         75.    Move has no adequate remedy at law, and Defendants’ actions will
20   continue to cause Move irreparable injury unless enjoined.
21         76.    Move is accordingly entitled to injunctive relief against Defendants to
22   prevent further damage and harm to Move. See id. at § 3426.2. Move is also entitled
23   to damages, including exemplary damages, and attorneys’ fees, in amounts to be
24   proven at trial. See id. at § 3426.3.
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                                             COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 25 of 32 Page ID #:25




 1                             THIRD CLAIM FOR RELIEF
 2        (Violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030)
 3                         (All Plaintiffs against all Defendants)
 4         77.    Move repeats and realleges each and every allegation contained in
 5   Paragraphs 1 through 76 as if fully set forth herein.
 6         78.    During Mr. Kaminsky’s last days of employment with Move, he used
 7   his authorized Move email account to grant access to Move’s electronically stored
 8   documents for his unauthorized personal Gmail account.
 9         79.    In so doing, Mr. Kaminsky created for himself (and CoStar) an
10   unauthorized but ongoing connection to Move’s living, electronic documents, which
11   was not known to Move and which Mr. Kaminsky knew or had reason to know was
12   not approved by Move. Indeed, Mr. Kaminsky warranted he was not retaining access
13   to any tangible or intangible property upon his departure from the company.
14         80.    After he was no longer employed by Move, Mr. Kaminsky apparently
15   tried to cover his tracks by deleting nearly a thousand electronic files from a Move
16   laptop computer and deleting the entire browser history from that protected
17   computer.
18         81.    After surreptitiously creating an ongoing, live connection to Move’s
19   electronic documents and emailing other documents to his personal email address,
20   and after no longer being a Move employee, Mr. Kaminsky accessed without
21   authorization Move’s protected electronic documents, stored on its password-
22   protected cloud-based platform, dozens of times from outside of the company.
23         82.    While working for CoStar in a role managing a team of other CoStar
24   employees, Mr. Kaminsky continued to access Move’s electronic documents
25   relating to topics within the scope of Mr. Kaminsky’s employment with CoStar.
26   CoStar therefore vicariously accessed Move’s electronic documents without
27   authorization through its employee in a management role, Mr. Kaminsky.
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                                          COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 26 of 32 Page ID #:26




 1         83.    Mr. Kaminsky’s deletion of electronic files from Move’s laptop
 2   computer, and his and CoStar’s repeated unauthorized and continuing access to
 3   Move’s electronic documents, stored on a protected computer system, has
 4   substantially damaged Move, in amounts to be proven at trial but far exceeding
 5   $5,000.
 6                           FOURTH CLAIM FOR RELIEF
 7      (Violation of the Comprehensive Computer Data Access and Fraud Act,
 8                              California Penal Code § 502)
 9                         (All Plaintiffs against all Defendants)
10         84.    Move repeats and realleges each and every allegation contained in
11   Paragraphs 1 through 83 as if fully set forth herein.
12         85.    For all of the same reasons set forth above in relation to the Third Claim
13   for Relief, Paragraphs 77 through 83, Mr. Kaminsky violated California’s
14   Comprehensive Computer Data Access and Fraud Act by granting himself ongoing
15   access to Move’s electronic documents stored on protected computers.
16         86.    Mr. Kaminsky’s access to Move’s living, electronic documents after he
17   stopped working for Move and began working for Move’s competitor CoStar was
18   knowing and without permission. Mr. Kaminsky was not authorized to access
19   Move’s computers or computer network, Move’s electronic files, or Move’s
20   information after he departed the company. He was aware he was not authorized to
21   access Move’s computers, network, or documents. Indeed, Mr. Kaminsky warranted
22   he would not do so.
23         87.    While working for CoStar in a role managing a team of other CoStar
24   employees, Mr. Kaminsky continued to access Move’s electronic documents
25   relating to topics within the scope of Mr. Kaminsky’s employment with CoStar.
26   CoStar therefore vicariously accessed Move’s electronic documents without
27   authorization through its employee in a management role, Mr. Kaminsky.
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                                          COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 27 of 32 Page ID #:27




 1         88.    Through this unauthorized access, Mr. Kaminsky and CoStar
 2   improperly used, took, and copied data from a protected computer system, harming
 3   Move. Mr. Kaminsky also deleted nearly a thousand electronic files from a Move
 4   laptop computer and deleted all of the web browser history from Move’s computer
 5   after his employment with Move concluded.
 6         89.    Defendants’ conduct, including Mr. Kaminsky’s deletion of electronic
 7   files, and Mr. Kaminsky’s and CoStar’s continuing access to Move’s electronic
 8   documents stored on a protected computer network, has substantially damaged
 9   Move.
10                             FIFTH CLAIM FOR RELIEF
11                                  (Breach of Contract)
12       (Plaintiffs Move, Inc., and Move Sales, Inc., Against Defendant James
13                                        Kaminsky)
14         90.    Move repeats and realleges each and every allegation contained in
15   Paragraphs 1 through 89 as if fully set forth herein.
16         91.    Move, Inc., Move Sales, Inc., and Mr. Kaminsky are parties to the
17   Confidentiality Agreement and the Separation Agreement.
18         92.    Move, Inc., Move Sales, Inc., have substantially performed all their
19   obligations under the Agreements, including but not limited to providing Mr.
20   Kaminsky with the stated severance payment, and other benefits. If Move, Inc., or
21   Move Sales, Inc. has not performed any obligation, it was excused from
22   performance.
23         93.    Mr. Kaminsky promised in the Confidentiality Agreement to hold
24   Move’s confidential, proprietary, and trade secret information in “strict confidence
25   and trust,” and not to “use or disclose it” “without the prior written consent” of
26   Move. He further agreed that upon termination of his employment with Move, he
27   would “not take with [him] any documents or materials or copies thereof” containing
28   Move’s confidential or trade secret information. By exfiltrating Move’s confidential,

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                                          COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 28 of 32 Page ID #:28




 1   proprietary, and trade secret information upon the termination of his employment
 2   with Move, and by continuing to access Move’s documents containing confidential,
 3   proprietary, and trade secret information after he stopped working for Move and
 4   began working for Move’s competitor, Mr. Kaminsky breached each of those
 5   promises.
 6         94.   Also in the Confidentiality Agreement, Mr. Kaminsky agreed that he
 7   would notify Move in writing of any employment he accepted for one year following
 8   the termination of his employment with Move. Mr. Kaminsky did not notify Move
 9   that he accepted an offer of employment with CoStar, thereby breaching this
10   additional provision of the Confidentiality Agreement. On information and belief,
11   Mr. Kaminsky withheld this information from Move to avoid detection of the
12   misconduct set forth in this Complaint.
13         95.   In the Separation Agreement, Mr. Kaminsky “represent[ed] and
14   warrant[ed]” he had returned to Move, or would return to Move as soon as
15   reasonably practicable, “all tangible or intangible property or data” belonging to
16   Move, “of any type whatsoever that has been in your possession or control.” Mr.
17   Kaminsky also agreed that he would “continue to be bound by the terms of the
18   Confidentiality Agreement” and that he would hold all confidential and trade secret
19   information “in the strictest confidence,” and would not make use of such
20   information “on behalf of anyone.” He further confirmed that he had “delivered to
21   [Move] all documents and data of any nature” containing or pertaining to
22   confidential or trade secret information, and that he had “not retained any such
23   documents or data or any reproduction thereof.” By exfiltrating Move’s confidential,
24   proprietary, and trade secret information upon the termination of his employment
25   with Move, and by continuing to access Move’s live documents containing
26   confidential, proprietary, and trade secret information after he stopped working for
27   Move and began working for Move’s competitor, Mr. Kaminsky breached his
28   warranty and each of those promises to Move. Moreover, by deleting nearly 1,000

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                                         COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 29 of 32 Page ID #:29




 1   files from his company-issued laptop and deleting all browsing history before
 2   returning the laptop to Move, Mr. Kaminsky breached his promise in the Separation
 3   Agreement to return to Move “all tangible or intangible property or data” belonging
 4   to Move “of any type whatsoever,” electing to destroy electronic data belonging to
 5   Move rather than return it to Move as he had promised he would do.
 6         96.    Mr. Kaminsky’s breaches of contract have substantially damaged
 7   Move, Inc., and Move Sales, Inc., including but not limited to actual damages, lost
 8   profits, harm to Move’s reputation, and the diminution of the value of its trade
 9   secrets. Mr. Kaminsky’s breaches have caused and will cause irreparable injury to
10   Move, Inc., and Move Sales, Inc.
11                             SIXTH CLAIM FOR RELIEF
12                                   (Promissory Fraud)
13        (Plaintiffs Move, Inc., and Move Sales, Inc. against Defendant James
14                                        Kaminsky)
15         97.    Move repeats and realleges each and every allegation contained in
16   Paragraphs 1 through 96 as if fully set forth herein.
17         98.    Mr. Kaminsky was notified on January 10, 2024, that his employment
18   with Move would end effective January 19, 2024. He was also offered a generous
19   severance package. Mr. Kaminsky immediately put into effect a plan to take
20   electronic documents from Move.
21         99.    On January 11 and 12, 2024, Mr. Kaminsky sent internal Move
22   documents from his Move computer, using his Move email address, to his personal
23   email address. He also granted his personal email account access to Move’s internal
24   cloud-based documents so he could access them after departing Move.
25         100. On January 25, 2024, Mr. Kaminsky “represent[ed] and warrant[ed]”
26   that he had returned to Move, or would return to Move as soon as reasonably
27   practicable, “all tangible or intangible property or data” belonging to Move, “of any
28   type whatsoever that has been in [his] possession or control.”

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                                          COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 30 of 32 Page ID #:30




 1         101. At the time he made these written promises, Mr. Kaminsky knew his
 2   promises and warranties were false. He was not performing them and would not be
 3   performing them. Mr. Kaminsky signed the Separation Agreement on January 25,
 4   2024, but he had already begun taking documents from Move. He had also already
 5   begun accessing Move’s documents without authorization between his last working
 6   day on January 12, 2024, and the day he signed the Separation Agreement on January
 7   25, 2024. He had already destroyed electronic files belonging to Move that he was
 8   promising he would return to Move. Mr. Kaminsky made these false promises
 9   intending for Move, Inc., and Move Sales, Inc. to rely on them, in order to collect
10   the severance payment and other benefits Move had offered him as part of his
11   severance arrangement.
12         102. Relying on those representations, warranties, and promises, which Mr.
13   Kaminsky knew were false at the time he made them, Move paid Mr. Kaminsky a
14   severance payment and provided other benefits to Mr. Kaminsky. The Separation
15   Agreement expressly conditioned that payment upon Mr. Kaminsky’s return of all
16   tangible or intangible property or data belonging to Move.
17         103. Mr. Kaminsky’s fraudulent misrepresentations damaged Move, Inc.,
18   and Move Sales, Inc., including but not limited to the amount of Mr. Kaminsky’s
19   severance payment and other benefits provided by Move. Mr. Kaminsky’s false
20   promises were made with the intent to deceive Move, Inc., and Move Sales, Inc. He
21   acted with malice, oppression, and fraud.
22                             PRAYER FOR RELIEF
23         WHEREFORE, Move prays for judgment as follows:
24   A. For an Order permanently enjoining CoStar Group, Inc., and James Kaminsky
25      from further using or disclosing Move’s trade secrets and confidential
26      information and to return all of the same to Move;
27   B. For preliminary injunctive relief against CoStar and Mr. Kaminsky;
28   C. For compensatory damages according to proof;

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                                         COMPLAINT
        Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 31 of 32 Page ID #:31




 1   D. For exemplary and punitive damages according to proof and as allowed by law;
 2   E. For an order disgorging Defendants of amounts by which they were unjustly
 3      enriched and by which they profited from their unlawful conduct;
 4   F. For statutory damages as allowed by law;
 5   G. For pre- and post-judgment interest;
 6   H. For Move’s reasonable attorneys’ fees as a prevailing party attorneys’ fees
 7      pursuant to 18 U.S.C. § 1836(b)(3)(D) as well as other applicable state and
 8      federal law and relevant contracts;
 9   I. For costs and other expenses; and
10   J. For such other further relief as the Court deems just and proper.
11   Dated: July 2, 2024                        JENNER & BLOCK LLP
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13                                     By:
14                                              Brent Caslin
15                                              Attorneys for Plaintiffs
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                                          COMPLAINT
       Case 2:24-cv-05607 Document 1 Filed 07/02/24 Page 32 of 32 Page ID #:32



 1                                    JURY DEMAND
 2         Plaintiffs hereby demand a trial by jury on all issues so triable.
 3

 4
     Dated: July 2, 2024                        JENNER & BLOCK LLP
 5

 6
                                       By:
 7
                                                Brent Caslin
 8
                                                Attorneys for Plaintiffs
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